Case 2:04-cr-20100-.]P|\/| Document 216 Filed 08/10/05 Page 1 of 3 Page|D 317

IN THE UNITED STATES DISTRICT COURT

 

 

 

FOR THE WESTERN DISTRICT OF TENNESSEE ""' "* ' "‘
WESTERN DIVISION 05 AUG 10 H h. 2|
"MM\"\ 31 hhs
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uNITED sTATEs oF AMERICA ) 1thi-tit =»-.._; ;';;;,,|,;PHB
)
Plaintiff, )
)
VS ) CASE NO. 2:O4CR2()lOO-Ml
)
DARREN LEE MACLIN )
)
Defendant. )
)
ORDER TO SURRENDER

 

The defendant, Darren Lee Maclin, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City
(Med), P.O. Box 7000, Forrest City, AR 72335 by 2:00 p.m. on TUESDAY, SEPTEMBER 6,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREDthiSthe let day OrAugusr, 2005.

V\QMQQ;

Jo PHIli'Ps McCALLA
man sTATEs l)IsTRlCT JUDGE

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with Rule 55 and/or 32 (b} FRCrF' on § -/1 l Q/` b

   
 

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED `SATESDTISRICT COUR - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 216 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

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Ste. 800

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Honorable J on l\/lcCalla
US DISTRICT COURT

